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                                            U.S. Department of Justice

                                                         United States Attorney
                                                         Southern District of New York

                                                         The Silvio J. Mollo Building
                                                         One Saint Andrew’s Plaza
                                                         New York, New York 10007


                                                         November 3, 2020


 The Honorable Laura Taylor Swain
 United States District Court                                          MEMO ENDORSED
 500 Pearl Street
 New York, New York 10007

         Re:     United States v. Rui Cai, 20-cr-80 (LTS)

 Judge Swain:

         On October 28, 2020, this Court scheduled the final pretrial conference in the above-
 captioned case for May 3, 2021, at 11:00 a.m. The Government respectfully requests that time
 under the Speedy Trial Act be excluded until that conference, so the parties can discuss a potential
 pretrial resolution to the case. Mr. Cai’s attorney, Clay Kaminsky, Esq., has informed me that he
 consents to the exclusion of time.



                                                         Respectfully submitted,

                                                         AUDREY STRAUSS
                                                         Acting United States Attorney


                                                   by:
                                                         Thomas S. Burnett
                                                         Assistant United States Attorney
                                                         (212) 637-1064

The application is granted. Trial is hereby set for May 10, 2021, at 9:30 a.m., and the final pretrial conference
is set for May 3, 2021, at 9:30 a.m. The Court finds pursuant to 18 U.S.C. §3161(h)(7)(A) that the ends of
justice served by an exclusion of the time from today’s date through May 10, 2021, outweigh the best interests
of the public and the defendants in a speedy trial for the reasons stated above.

SO ORDERED.
Dated: 11/04/2020

/s/ Laura Taylor Swain____
Laura Taylor Swain, USDJ
